I dissent. As to the two daughters-in-law of testatrix, the will is plain that if they survive their husbands they share with their children in the income of the trust so long as they remain unmarried. There is nothing stated in the will in respect to a widow of a grandson. The general purpose of the will "so that my children, and grandchildren after them shall derive most benefit out of it" does not help much since it applies as well to the corpus of the trust as to the income therefrom, and, as I understood from the oral argument of respondents' counsel, he would concede that appellant will take as the legal heir of her deceased husband his share in the corpus of the trust. It is difficult for me to think that testatrix intended to withhold from appellant a share in the income and bestow upon her a share in the corpus from which the income is derived.